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                 4                                       UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                       ***
                 7      UNITED STATES OF AMERICA,                               Case No. 2:13-CR-18 JCM (GWF)
                 8                                              Plaintiff(s),                     ORDER
                 9                v.
               10       LEON BENZER, et al.,
               11                                            Defendant(s).
               12
                                  Presently before the court is the government’s motion in limine to admit evidence of
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                        other acts by defendant Keith Gregory (hereinafter “defendant”) pursuant to Federal Rule of
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                        Evidence 404(b). (Doc. # 374). Defendant filed a response, (doc. # 377), and the government
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                        filed a reply, (doc. # 379).
               16
                            I.         Background
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                                  The facts of the instant case are familiar to the court and the parties. Defendant Gregory
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                        and his co-defendants are accused of participating in a scheme to take over homeowners
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                        association (“HOA”) boards to fraudulently obtain legal work and construction contracts. (Doc.
               20
                        # 374).
               21
                                  Defendant is an attorney who allegedly represented the HOA boards controlled by
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                        defendant Benzer. Defendant also purportedly brought lawsuits to assist straw purchasers with
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                        obtaining HOA board positions. (Doc. # 374).
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                            II.        Legal Standard
               25
                                  A. Motions in limine
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                                  “The court must decide any preliminary question about whether . . . evidence is
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                        admissible.” Fed. R. Evid. 104. Motions in limine are procedural mechanisms by which the
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                1     court can make evidentiary rulings in advance of trial, often to preclude the use of unfairly
                2     prejudicial evidence. United States v. Heller, 551 F.3d 1108, 1111-12 (9th Cir. 2009); Brodit v.
                3     Cambra, 350 F.3d 985, 1004-05 (9th Cir. 2003).
                4            “Although the Federal Rules of Evidence do not explicitly authorize in limine rulings, the
                5     practice has developed pursuant to the district court’s inherent authority to manage the course of
                6     trials.” Luce v. United States, 469 U.S. 38, 41 n.4 (1980). Motions in limine may be used to
                7     exclude or admit evidence in advance of trial. See Fed. R. Evid. 103; United States v. Williams,
                8     939 F.2d 721, 723 (9th Cir. 1991) (affirming district court’s ruling in limine that prosecution
                9     could admit impeachment evidence under Federal Rule of Evidence 609).
              10             Judges have broad discretion when ruling on motions in limine. See Jenkins v. Chrysler
              11      Motors Corp., 316 F.3d 663, 664 (7th Cir. 2002); see also Trevino v. Gates, 99 F.3d 911, 922
              12      (9th Cir. 1999) (“The district court has considerable latitude in performing a Rule 403 balancing
              13      test and we will uphold its decision absent clear abuse of discretion.”).
              14             “[I]n limine rulings are not binding on the trial judge [who] may always change his mind
              15      during the course of a trial.” Ohler v. United States, 529 U.S. 753, 758 n.3 (2000); accord Luce,
              16      469 U.S. at 41 (noting that in limine rulings are always subject to change, especially if the
              17      evidence unfolds in an unanticipated manner).
              18             B. Other acts evidence

              19             Federal Rule of Evidence 404(b)(1) states that, “[e]vidence of a crime, wrong, or other
              20      act is not admissible to prove a person’s character in order to show that on a particular occasion
              21      the person acted in accordance with the character.” Fed. R. Evid. 404(b)(1). However, Rule
              22      404(b)(2) allows introduction of such evidence “for another purpose, such as proving motive,
              23      opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack of
              24      accident.” Fed. R. Evid. 404(b)(2).
              25             In the Ninth Circuit, evidence is admissible under Rule 404(b) if “(1) the evidence tends
              26      to prove a material point; (2) the other act is not too remote in time; (3) the evidence is sufficient
              27      to support a finding that defendant committed the other act; and (4) (in certain cases) the act is
              28      similar to the offense charged.” United States v. Cherer, 513 F.3d 1150, 1157 (9th Cir. 2008).

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                1     The fourth prong is a prerequisite when the evidence is introduced to prove intent. See United
                2     States v. Luna, 21 F.3d 874, 878 n.1 (9th Cir. 1994).
                3                Evidence passing the Rule 404(b) test is admissible unless its probative value is
                4     substantially outweighed by the danger of unfair prejudice, confusion of the issues, misleading
                5     the jury, undue delay, waste of time, or needless presentation of cumulative evidence. See Fed.
                6     R. Evid. 403; United States v. Ramirez-Jimenez, 967 F.2d 1321, 1327 (9th Cir. 1992).
                7                C. Intrinsic evidence

                8                Evidence that is inextricably intertwined with the instant crime charged is considered to be

                9     intrinsic. United States v. Vizcarra-Martinez, 66 F.3d 1006, 1012 (9th Cir. 1995). Where evidence meets

              10      this test, it is exempt from the prohibition on character evidence in Federal Rule of Evidence 404(b). Id.;

              11      see also Fed. R. Evid. 404(b) (stating that evidence of other acts is not admissible to prove that defendant

              12      acted in accordance with a particular trait).

              13                 The Ninth Circuit has permitted evidence as intrinsic in two instances. First, evidence may be

              14      inextricably intertwined with the instant offense where the other act “constitutes a part of the transaction

              15      that serves as the basis for the criminal charge.” Vizcarra-Martinez, 66 F.3d at 1012. “The policies

              16      underlying rule 404(b) are inapplicable when offenses committed as part of a ‘single criminal episode’

              17      become other acts simply because the defendant is ‘indicted for less than all of his actions.’” United

              18      States v. Williams, 989 F.2d 1061, 1070 (9th Cir. 1993) (quoting United States v. Soliman, 813 F.2d 277,

              19      279 (9th Cir. 1987)).

              20                 Second, evidence may be admitted as intrinsic where “it [is] necessary to do so in order to permit

              21      the prosecutor to offer a coherent and comprehensible story regarding the commission of the crime . . . .”

              22      Vicarra-Martinez, 66 F.3d at 1012-13.

              23          III.       Discussion

              24                 The government intends to introduce three areas of other acts evidence against defendant
              25      in its case-in-chief. (Doc. # 374). The government contends that each piece of evidence tends to
              26      show intent, common plan and scheme, and absence of mistake or accident. The admissibility of
              27      evidence relating to each of the three incidents will be addressed in turn.
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                1             A. 2001 state bar complaint

                2             The government first seeks to admit evidence that defendant was suspended by the State
                3     Bar of Nevada for lying to his client. (Doc. # 374). The conduct in the complaint purportedly
                4     occurred from 1997 to 1999. (Doc. # 374). Defendant allegedly “failed to serve a complaint,
                5     allowed the statute of limitations to run on the claim, and then persistently lied to the client . . . .”
                6     (Doc. # 374). Defendant was sanctioned as a result of these infractions. (Doc. # 374).
                7             The government argues that this evidence of dishonesty proves intent, absence of
                8     mistake, and lack of accident. (Doc. # 374). The government reasons that in the instant case,
                9     defendant “lied again to his HOA clients about who was paying for his representation, whether
              10      he had conflicts of interest, and whether he was actually working in the HOAs’ best interests.”
              11      (Doc. # 374).
              12              This proposed evidence does not meet the first and fourth prongs of the Cherer test. The
              13      evidence must first tend to prove a material point in the current case. The government argues
              14      that this evidence tends to prove intent, which is an element of the instant fraud claim against
              15      defendant. (Doc. # 374).
              16              The proposed evidence relates to defendant’s failure to timely act in an unrelated case,
              17      and his subsequent misrepresentation to the client regarding the case’s status. This does not tend
              18      to prove the defendant’s intent to lie regarding a conflict of interest or his intent to defraud
              19      clients through the instant conspiracy.
              20              The government also has not shown sufficient similarity between the instant offense and
              21      the defendant’s prior misconduct. The government argues that because the conduct leading to
              22      defendant’s 2001 discipline involved lying, it is “nearly identical” to the instant allegations of
              23      dishonesty. (Doc. # 374). The court again disagrees.
              24              The alleged deceitful conduct at issue in this case involves entirely different subject
              25      matter than the statements for which defendant was disciplined in 2001. Defendant’s 2001
              26      reprimand resulted from mishandling a case.           Defendant mistakenly allowed the statute of
              27      limitations to run in that case and subsequently misrepresented the status of the suit to the client.
              28

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                1                The court finds that this other acts evidence is of an entirely different nature than the
                2     instant allegations. Defendant is now charged with conspiracy for alleged fraudulent conduct
                3     related to conflicts of interest. As a result, the court does not find that this evidence meets the
                4     first or fourth prongs of the Cherer test. In light of this ruling, the court will not address this
                5     evidence under the other prongs of the Cherer test or under Federal Rule of Evidence 403.
                6                Accordingly, the motion in limine will be denied with regard to defendant’s 2001
                7     discipline. The admissibility of this evidence may be readdressed at trial if appropriate.
                8                B. 2008 state bar complaint

                9                The government next seeks to introduce evidence of a complaint filed against defendant
              10      with the State Bar of Nevada in 2008. (Doc. # 374). The complaint alleged that defendant
              11      unlawfully split fees with a paralegal and allowed him to practice law. (Doc. # 374). It further
              12      alleged that defendant “failed to disclose his relationship with Leon Benzer and Silver Lining
              13      before accepting an appointment as counsel to the Vistana HOA.” (Doc. # 374).
              14                 The government contends that this evidence is admissible under Rule 404(b) to prove
              15      lack of mistake or accident. (Doc. # 374). The court finds that this evidence, like the 2001
              16      evidence, does not meet every prong of the Cherer test.
              17                 The government argues under the first prong that the evidence tends to show intent and
              18      lack of mistake or accident because “despite being reprimanded by the State Bar of Nevada,
              19      Defendant Gregory continued to split fees illicitly with his paralegal.” (Doc. # 374). The
              20      government also argues that the 2008 complaint put defendant on notice of his conflict of
              21      interest, and that he then persisted in these conflicting representations without disclosing them to
              22      the Vistana HOA. (Doc. # 374).
              23                 The government’s initial argument under this prong fails for a number of reasons. First,
              24      while the government has provided evidence of defendant’s discipline, it has not proven that
              25      defendant then continued to split fees. Further, any proof that defendant continued to split fees
              26      with a paralegal after having been reprimanded does not tend to show intent to engage in the
              27      alleged conspiracy, because it does not prove dishonest intent with regard to defendant’s HOA
              28      clients.

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                1             The government’s second argument with regard to intent is also unsuccessful. The
                2     government itself states that this conduct “occurred contemporaneously with the conduct alleged
                3     in the indictment.” (Doc. # 374). Defendant contends that “the 2008 Complaint was not filed
                4     until a month after search warrants had been served and the HOA investigation was underway.”
                5     (Doc. # 374). Based on the evidence provided by the government, the court is unable to
                6     conclusively find that “the evidence tends to prove a material point.” Cherer, 513 F.3d at 1157.
                7             The court also cannot find that “the evidence is sufficient to support a finding that
                8     defendant committed the other act,” as required by Cherer. Id. While the government states that
                9     a disciplinary board screening panel considered the complaint and issued a formal reprimand, the
              10      government fails to attach any such evidence to its motion. (Doc. # 374).
              11              The only evidence provided to the court is a letter addressed to the State Bar of Nevada
              12      from a member of the bar presenting the allegations of fee-splitting and conflicts of interest.
              13      (Doc. # 374-25). Defendant argues that “the State Bar of Nevada did not inquire further into the
              14      issue and did not issue any reprimand or other sanction to Gregory as to the conflict allegation.”
              15      (Doc. # 377). The government’s evidence is therefore insufficient to support a finding that
              16      defendant committed the alleged offenses.
              17              Based on the foregoing, the court will deny the government’s motion as it relates to the
              18      2008 state bar complaint. In light of the court’s finding that the evidence fails two prongs of the
              19      Cherer test, the court will not address the evidence under Rule 403 or the other two prongs of the
              20      Rule 404(b) test. The motion will be denied as to the 2008 evidence.
              21              C. Illegal notarizing scheme

              22              Finally, the government seeks to admit evidence that defendant asked his paralegal to
              23      notarize documents when the signatory was not present.            (Doc. # 374).     The government
              24      contends that this evidence is intrinsic to the instant charges, and alternatively, that it meets Rule
              25      404(b)’s test for other acts evidence. (Doc. # 374). The court will address these arguments in
              26      turn.
              27      ...
              28      ...

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                1                     i.     Intrinsic evidence

                2             The government first alleges that this evidence is intrinsic to the instant offenses and thus
                3     exempt from Rule 404(b) scrutiny. (Doc. # 374). The government contends that at least one
                4     HOA document related to the instant case was illegally notarized by defendant’s paralegal as part
                5     of a fraudulent pattern of conduct. (Doc. # 374).
                6             Evidence may be admissible as intrinsic in two instances. First, the proposed evidence
                7     may be introduced “to permit the prosecutor to offer a coherent and comprehensible story
                8     regarding the commission of the crime.”          Viscarra-Martinez, 66 F.3d at 1012-13.          The
                9     government argues that this standard is met here, and cites United States v. DeGeorge, 380 F.3d
              10      1203 (9th Cir. 2004) in support of this contention.
              11              DeGeorge is inapplicable to the facts of the instant case. In that case, the court permitted
              12      intrinsic evidence that the defendant “had previously lost three insured vessels at sea.” 380 F.3d
              13      at 1219. This evidence helped to explain the defendant’s role in the charged conspiracy as well
              14      as why the defendant concealed his loss history on a later insurance application. Id. at 1220.
              15              The government fails to make any such connection in the instant case. Based on the
              16      present evidence, the court is unable to find that defendant’s role in any illegal notarizing scheme
              17      is necessary to paint a complete story of the instant alleged conspiracy.
              18              The government has not provided sufficient evidence to show that any illegal notarizing
              19      was related to the conspiracy alleged in the current case. The government also does not provide
              20      or point to any particular document relating to the alleged conspiracy that was supposedly
              21      notarized illegally.
              22              For this reason, the court also fails to find that the proposed evidence “constitutes a part
              23      of the transaction that serves as the basis for the criminal charge.” Viscarra-Martinez, 66 F.3d at
              24      1012. While illegally notarized documents related to the alleged HOA scheme may meet this
              25      test, the government has not provided the court with proof of any such documents. Accordingly,
              26      the proposed evidence of an illegal notarizing scheme fails to meet the test for intrinsic evidence.
              27      As a result, the court will not admit the evidence on these grounds.
              28      ...

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                1                    ii.     Other acts evidence

                2            The proposed evidence also does not meet the 404(b) test for evidence of other acts. The
                3     government argues that this evidence is probative in that “it shows that [defendant’s] submission
                4     of a fraudulently notarized declaration as part of the Jasmine HOA lawsuit was not a mistake or
                5     accident, but rather part of a course of conduct in his office.” (Doc. # 374).
                6            In support of admissibility, the government includes the declaration of FBI special agent
                7     Michael Elliott.     (Doc. # 374-5).    Elliott states in his declaration that “[a]s part of the
                8     investigation, investigators reviewed ‘notarized declarations’ submitted as part of a lawsuit filed
                9     by [defendant] . . . [that] were purportedly from certain Jasmine HOA homeowners, but
              10      investigators learned that the signatures of some of the homeowners were forged.” (Doc. # 374-
              11      5).
              12             Elliott further states that “Stubbs also said during [interviews with investigators] that
              13      [defendant] and his wife both asked Stubbs to notarize documents when the signatory was not
              14      present.” (Doc. # 374-5). At this point in the case, the government has provided only hearsay
              15      statements to support these allegations. The government does not point to particular documents
              16      that were allegedly illegally notarized as part of the instant conspiracy. The court therefore finds
              17      that this evidence does not meet the sufficiency prong of the Cherer test.
              18             For these reasons, the cases cited by the government in favor of admissibility are
              19      distinguishable. See United States v. Dhingra, 371 F.3d 557, 566 (9th Cir. 2004); United States
              20      v. Johnson, 132 F.3d 1279, 1283 (9th Cir. 1997); United States v. Romero, 282 F.3d 683, 688
              21      (9th Cir. 1992). The evidence at issue in these cases was all admitted at trial through direct
              22      witness testimony.
              23             By contrast, the government seeks to introduce the other acts evidence here pursuant to
              24      the declaration of an investigator without direct knowledge prior to trial.        This request is
              25      premature and the government’s motion is inadequate to support a present ruling that the
              26      evidence is admissible.
              27      ...
              28      ...

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                1              In light of the instant finding that the proposed evidence fails the sufficiency prong of the
                2     Rule 404(b) test, the court will not address the other prongs of the Cherer test or the
                3     admissibility of the instant evidence under Rule 403.
                4              For the foregoing reasons, the court will deny the instant motion as to the illegal
                5     notarizing evidence. The court will address the admissibility of evidence at trial as appropriate.
                6        IV.      Conclusion

                7              Accordingly,
                8              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s
                9     motion in limine, (doc. # 374), be, and the same hereby is, DENIED.
              10               DATED December 1, 2014.
              11
              12                                              ___________________________________________
                                                              UNITED STATES DISTRICT JUDGE
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